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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGION 3
Jeffrey M. Sponder, Esq.
Lauren Bielskie, Esq.
One Newark Center, Suite 2100
Newark, NJ 07102
Telephone: (973) 645-3014
Fax: (973) 645-5993
E-mail:       jeffrey.m.sponder@usdoj.gov
              lauren.bielskie@usdoj.gov

                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY
____________________________________
                                     : Case No. 23-12825 (MBK)
In re:                               :
                                     : Chapter 11
                    1
LTL Management LLC,                 :
                                    : The Honorable Michael B. Kaplan, Chief Judge
Debtor.                             :
                                    :
                                    : Hearing Date: May 22, 2023 at 10:00 a.m.
____________________________________:


          MOTION OF THE UNITED STATES TRUSTEE TO DISMISS CASE
                      PURSUANT TO 11 U.S.C. § 1112(B)

       Andrew R. Vara, the United States Trustee for Regions 3 and 9 (the “U.S. Trustee”), by

his undersigned counsel, and in furtherance of his duties pursuant to 28 U.S.C. §§ 586(a)(3), (5),

and (8), respectfully moves to dismiss the above-captioned chapter 11 case of debtor LTL

Management, LLC (“LTL”) for cause pursuant to 11 U.S.C. § 1112(b), and respectfully

represents as follows:




1
 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s
address is 501 George Street, New Brunswick, New Jersey 08933.
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                                PRELIMINARY STATEMENT

       LTL’s bankruptcy petition appears to reflect a mistaken belief that the best cure for bad

faith is more bad faith. This case was filed just 131 minutes after the Court dismissed LTL’s

previous chapter 11 case for cause, following a ruling by the United States Court of Appeals for

the Third Circuit that found that LTL lacked a valid reorganization purpose and that it had sought

bankruptcy protection in bad faith. In re LTL Mgmt. LLC, 64 F.4th 84 (3d Cir. 2023) (amended

opinion). Standing alone, LTL’s defiance of the Third Circuit (and the controlling effect of the

Third Circuit’s decision) would be sufficient cause for immediate dismissal of its refiled case.

But LTL did more.

       In the weeks leading up to its second bankruptcy filing, LTL and its ultimate parent,

Johnson & Johnson (collectively with its nondebtor affiliates, “J&J”), engaged in a series of

transactions that LTL admits were designed for no purpose other than creating artificial

“financial distress” to sidestep the Third Circuit’s decision. Although the U.S. Trustee and other

interested parties have had only a brief opportunity to investigate these transactions, it appears

that they involved, at a minimum, (i) significant intracompany asset transfers that materially

eroded the value of LTL’s support from its affiliates and (ii) LTL’s decision to terminate, for no

apparent benefit, its rights under a funding agreement that had been its principal asset from the

very moment of its creation. Furthermore, these transfers were either substantially or fully

consummated when LTL was still a debtor in possession in its first case, subject to broad

fiduciary duties to its creditors and the supervision of this Court. But despite being under a

statutory obligation to do so, LTL never disclosed these transactions to its creditors and never

sought or obtained approval from this Court for either its termination of the funding agreement

or its decision to file a second bankruptcy petition.




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          LTL is nothing more than J&J’s captive and this case is but a part of J&J’s scheme to

discharge its tort obligations at cents on the dollar—without itself filing for bankruptcy. LTL

itself is largely bereft of employees, independent revenue, any real business, and any prospects

for a viable, operating business on the backside of bankruptcy. It exists solely to get J&J out of a

jam as cheaply as possible. Assuming J&J were ever to face financial distress, it would be free to

resolve its debts by seeking chapter 11 relief. But J&J cannot escape its financial obligations by

piggybacking on LTL’s bankruptcy. LTL’s singular priority to shield J&J’s $187 billion in

assets 2 in this bankruptcy-by-proxy—when LTL owes its fiduciary duties to its creditors, not

J&J—lays bare the reality that LTL is by design incapable of acting as a fiduciary for its

creditors. The bankruptcy system deserves better, as do LTL’s and J&J’s creditors. LTL’s second

bankruptcy case should thus fare no better than its first. The doors of this Court are open to

honest but unfortunate debtors, Grogan v. Garner, 498 U.S. 279, 287 (1991), but they are not

open to parties that lack a legitimate bankruptcy purpose or that seek to abuse the bankruptcy

process to hinder or delay their creditors. This case should be dismissed.

                                                JURISDICTION

          The United States Bankruptcy Court for the District of New Jersey has jurisdiction over

    this Motion pursuant to 28 U.S.C. § 157 and 28 U.S.C. § 1334. This is a core proceeding in

    accordance with 28 U.S.C. § 157(b)(2)(A). Venue is proper pursuant to 28 U.S.C. § 1409.

          Pursuant to 28 U.S.C. § 586(a)(3), the United States Trustee is charged with

    administrative oversight of bankruptcy cases in this District. Such oversight is part of the “U.S.

    Trustee’s overarching responsibility to enforce the laws as written by Congress and interpreted



2
  See J&J’s Annual Report, at 54, available at https://www.investor.jnj.com/asm/2022-annual-report (assets valued
at $187 billion, $5 billion more than one year ago). J&J also reported a sixtieth straight year of shareholder dividend
increases and boasted that it is one of three companies in the world with a AAA credit rating. Id. at 5.


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by the courts.” United States Trustee v. Columbia Gas Systems, Inc. (In re Columbia Gas

Systems, Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that the U.S. Trustee has “public

interest standing” under 11 U.S.C. § 307 which goes beyond mere pecuniary interest).

       The statutory predicate for the relief sought is 11 U.S.C. § 1112(b).

                                  STATUTORY AUTHORITY

       Under section 1112(b)(1) of the Bankruptcy Code, upon a request of a party in interest,

and after notice and a hearing, the court shall convert or dismiss a case “for cause.” The Third

Circuit and other courts have consistently recognized that a lack of good faith may be cause for

dismissal under this section. See In re PPI Enterprises (U.S.), Inc., 324 F.3d 197, 210 (3d Cir.

2003). The debtor bears the burden of establishing good faith on a motion to dismiss. In re SGL

Carbon Corp., 200 F.3d 154, 162 n.10 (3d Cir.1999).

                                         BACKGROUND

   A. J&J Creates LTL Through the Divisional Merger

       LTL was created on October 12, 2021, through a series of internal corporate transactions

by J&J in response to its then-mounting talc personal injury liability. See Declaration of John K.

Kim in Support of First Day Pleadings at ¶¶ 24-25 (Dkt. 4) (the “Kim Declaration”). Under those

transactions—referred to by the Third Circuit as the “Divisional Merger” and by others as the

“Texas Two Step,” see LTL, 64 F.4th at 96—LTL became responsible for the talc tort liabilities

of its predecessor. Kim Decl. ¶ 24. But LTL did not receive the business assets associated with

those liabilities, which were assigned to a different, newly created affiliate, known at the time as

Johnson & Johnson Consumer Inc. (“New JJCI”). Id. Instead, the principal consideration LTL

received in exchange for its assumption of a multibillion-dollar tort liability was its rights under

a funding agreement with its affiliates (the “2021 Funding Agreement”).




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           Under the 2021 Funding Agreement, which the Third Circuit likened to “an ATM

disguised as a contract,” LTL, 64 F.4th at 109, LTL had a right to payment in cash from J&J and

New JJCI in an amount up to the value of New JJCI, which was estimated to be approximately

$61.5 billion as of 2021. Id. at 206. The purposes for which this funding could be used varied

depending on whether LTL was or was not a bankruptcy debtor. Outside of bankruptcy, the 2021

Funding Agreement would be used to pay LTL’s talc-related costs and operating expenses, id.,

while in bankruptcy, it could be used to fund the administrative expenses of the bankruptcy case

as well as any trust that would eventually be created to pay the claims of talc claimants. See Kim

Decl. 32.

           As LTL repeatedly emphasized during its first case, the 2021 Funding Agreement was the

linchpin of the Divisional Merger. See Declaration of John K. Kim in Support of First Day

Pleadings (Bankr. D.N.J. Case No. 21-30859, Dkt. 5) (the “Kim 2021 Declaration”) at ¶ 21 3

(stating that the “key objective” of the Divisional Merger was “achieved through the

establishment of a funding agreement”); see also LTL, 64 F.4th at 96 (describing the 2021

Funding Agreement as the “most important” asset of LTL). In addition, as LTL itself

acknowledged, another principal purpose of the 2021 Funding Agreement may have been to

protect the Divisional Merger from legal challenge, because without it, the funneling of J&J’s

consumer assets to New JJCI and its liabilities to LTL would almost certainly have been

avoidable as a fraudulent conveyance. See In re LTL Mgmt., LLC, 637 B.R. 396, 404 (Bankr.

D.N.J. 2022), rev’d, 64 F.4th 84 (3d Cir. 2023) (“LTL I”) (noting LTL’s argument that 2021

Funding Agreement “serves to . . . overcome fraudulent transfer challenges”).




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    Attached as Exhibit A to the Certification of Lauren Bielskie in Support of the within Motion (“Bielskie Cert.”).


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   B. Two Days After Its Creation, LTL Files for Bankruptcy

       Although LTL was ostensibly formed to “manage and defend thousands of talc-related

claims,” Kim Decl. ¶ 29, it has never actually performed that function. Instead, on October 14,

2021, just two days after the Divisional Merger, LTL commenced a chapter 11 case in the United

States Bankruptcy Court for the Western District of North Carolina that was later transferred to

this Court (the “2021 Case”).

       From the outset, LTL admitted that its goals in filing the 2021 Case were not merely to

resolve its own liabilities, but also to obtain a preliminary and permanent injunction that would

bar talc claims against countless other defendants, including J&J and New JJCI (collectively, the

“Protected Parties”), without requiring those companies to file bankruptcy themselves. See Kim

2021 Decl. ¶ 59. Accordingly, LTL sought and obtained an order from the North Carolina

Bankruptcy Court that temporarily enjoined all talc-related claims and litigation against the

nondebtor Protected Parties. Following the transfer of venue, this Court granted the stay on an

extended basis. LTL Mgmt., LLC v. Those Parties Listed on Appendix A to Complaint (In re LTL

Mgmt., LLC), 638 B.R. 291 (Bankr. D.N.J. 2022). In addition, the Court denied motions to

dismiss the 2021 Case filed by various talc claimants and committees. LTL I, 637 B.R. 396

(Bankr. D.N.J. 2022). Both decisions were subsequently certified for direct appeal to the Third

Circuit.

   C. The Third Circuit Dismisses the 2021 Case for Bad Faith

       On January 30, 2023, the Third Circuit issued a decision that found LTL had not filed its

bankruptcy in good faith and remanded the case to this Court with instructions to dismiss. LTL,

64 F.4th at 111. In reaching this conclusion, the Third Circuit started from the well-established

principle that in order to meet its burden of showing good faith, a putative debtor must




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demonstrate that it sought bankruptcy for a “valid bankruptcy purpose.” Id. at 101. In turn, as a

threshold requirement for showing that it has a valid bankruptcy purpose, the Third Circuit held

that LTL was required to demonstrate that it was in “financial distress.” Id. (“a debtor who does

not suffer from financial distress cannot demonstrate its Chapter 11 petition serves a valid

bankruptcy purpose supporting good faith”). Finally, in order to show “financial distress,” it was

necessary for LTL to show more than that there was an “attenuated possibility . . . that [it] may

have to file for bankruptcy in the future;” rather, good faith requires that its distress must be

“immediate.” Id. at 102 (internal quotation omitted).

        Turning to the facts and circumstances of LTL’s bankruptcy, the Third Circuit concluded

that any argument that LTL was in financial distress was “untenable.” Id. at 106. Although the

court stated that LTL’s right to access $61.5 billion under the 2021 Funding Agreement merited

“special mention” for purposes of this analysis, id., the 2021 Funding Agreement was not the

only factor in LTL’s failure to establish financial distress. On the other side of the balance sheet,

the court also noted a lack of evidentiary support in the record for the actual value of LTL’s talc

liabilities, which precluded LTL from demonstrating that those liabilities would exceed its ability

to pay, see id. at 108. The court also cited several other facts as relevant to its financial distress

analysis, including LTL’s self-professed ability to pay its obligations as they came due in the

ordinary course and the limited nature of LTL’s business operations. Id. at 109.

        The Third Circuit acknowledged that LTL’s financial prospects might change in the

future, but it declined to uphold LTL’s bankruptcy petition on that basis, stating that “[a]t best

the filing was premature.” Id. And in a footnote that would prove prescient, the Third Circuit

cautioned LTL against trying to manufacture distress by manipulating its financial condition:

        Some might read our logic to suggest LTL need only part with its funding backstop to
        render itself fit for a renewed filing. While this question is also premature, we note



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       interested parties may seek to “avoid any transfer” made within two years of any
       bankruptcy filing by a debtor who “receive[s] less than a reasonably equivalent value in
       exchange for such transfer” and “became insolvent as a result of [it].” 11 U.S.C. § 548(a).
       So if the question becomes ripe, the next one might be: Did LTL receive reasonably
       equivalent value in exchange for forgoing its rights under the Funding Agreement?

Id. at 109 n.18.

       Because the Third Circuit found the “financial distress” prong of the good faith test

dispositive, it did not consider other potential grounds to dismiss the case. Thus, because it did

not need to consider whether LTL lacked a legitimate bankruptcy purpose for reasons other than

its lack of financial distress, the Third Circuit never addressed the issue of whether the Divisional

Merger and LTL’s avowed purpose of shielding its nondebtor parent from liability was itself a

form of bad faith. Similarly, the Third Circuit did not reach the second half of its good faith test,

which looks to whether a debtor had filed its case “merely to obtain a tactical litigation

advantage,” although it strongly suggested that LTL’s case might have been dismissed on this

basis as well. See id. at 110 n.19 (“[w]hile we ultimately leave the question unaddressed, a filing

to change the forum of litigation where there is no financial distress raises, as it did in SGL

Carbon, the specter of ‘abuse which must be guarded against to protect the integrity of the

bankruptcy system’”) (internal citation omitted).

   D. LTL Attempts to Manufacture Financial Distress

       LTL initially sought to challenge the Third Circuit’s ruling through a petition for en banc

rehearing, which it filed on February 13. No. 22-2003, Dkt. 153 (3d Cir. filed Feb. 13., 2023).

On March 22, LTL’s petition was unanimously denied. Id., Dkt. 172 (Mar. 22, 2023). That same

day, LTL moved for a stay of the Third Circuit’s mandate—which would have delayed dismissal

of the 2021 Case and kept in place the nondebtor injunction issued by this Court—and

represented that such a stay was necessary to enable it to file a petition for certiorari with the




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Supreme Court. Id., Dkt. 173. 4 On March 31, the Third Circuit denied the stay motion and

issued its mandate. Id., Dkt. 180, 181.

           But while LTL was publicly vowing to pursue its appellate remedies, a very different

strategy was playing out behind the scenes. Beginning in January 2023, LTL, J&J, and New

JJCI—by then renamed Johnson & Johnson Holdco (NA) Inc. (“Holdco”)—entered what LTL

euphemistically refers to as “new financing arrangements,” which severely eroded the value of

LTL’s contractual rights against its affiliates. See Kim Decl. ¶ 76. Thus, in January 2023, New

JJCI/Holdco transferred its consumer business assets to its corporate parent. Kim Decl. ¶ 26.

Although LTL itself does not appear to have been a party to this transaction, New JJCI’s transfer

of approximately half of its value had the effect of nullifying a key provision of the 2021

Funding Agreement, which allowed LTL to benefit from any increase in value of New JJCI. See

LTL, 64 F.4th at 106.

           J&J and LTL next turned to the 2021 Funding Agreement itself. Through a Termination

and Substitution Agreement (the “T&S Agreement”), LTL agreed to cancel the 2021 Funding

Agreement and voluntarily relinquish its principal asset—its rights to more than $61.5 billion

from its affiliates—which was to be replaced with a similar, but far less lucrative, agreement (the

“2023 Funding Agreement.”). See Kim Decl. ¶¶ 79-80. Specifically, while under the 2021

Funding Agreement J&J and New JJCI were each jointly and severally liable to LTL for an

amount that could never be less than $61.5 billion, see LTL, 64 F.4th at 106, under the new 2023

Funding Agreement, J&J is no longer a primary obligor, its balance sheet is no longer available

to LTL, and LTL’s right to payment is now effectively limited to the much-reduced value of

Holdco following the transfer of New JJCI’s consumer business. See Kim Decl. ¶ 82. The effect



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    Attached as Exhibit B to the Bielskie Cert.


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of the T&S Agreement, then, appears to be LTL’s surrender of a contract right worth potentially

$61.5 billion (or more) to itself and its creditors for one worth far less, possibly tens of billions of

dollars less. Apart from its wholly unsupported speculation that J&J might invoke the dubious

affirmative defense of frustration of purpose (which it never did), see Kim Decl. ¶ 78, LTL offers

no rationale or business justification for its decision to sacrifice this asset. LTL does, however,

appear to acknowledge a tactical motivation for its decision, observing that under the 2023

Funding Agreement (and in contrast to the 2021 Funding Agreement), “[LTL’s] prefiling

financial condition is sufficiently distressed to satisfy the standard established by the Third

Circuit.” Id. ¶ 83.

        Although the Kim Declaration does not specify when LTL decided to enter into the T&S

Agreement, this presumably must have occurred before April 4, 2023, which is both the date of

the Kim Declaration and the order dismissing LTL’s 2021 Case. As such, LTL would still have

been a debtor in possession in its first case at the time these agreements were made. Despite this,

LTL never sought or obtained approval from the Court for its inexplicable surrender of its rights

under the 2021 Funding Agreement, nor did it disclose that decision to the U.S. Trustee or to its

creditors generally.

    E. LTL Files a Second Bankruptcy Case Immediately After Dismissal of Its First

        At 1:49 p.m. on April 4, 2023—a little more than two months after the Third Circuit’s

decision and four days after the issuance of its mandate—the Court dismissed the 2021 Case. But

LTL would remain outside of bankruptcy for barely more than two hours. At 4:00 p.m. that same

day, just 131 minutes after it exited bankruptcy, LTL filed a petition commencing the present

chapter 11 case. (Dkt. 1).




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       On April 14, 2023, the U.S. Trustee appointed an Official Committee of Talc Claimants

(the “TCC”) (Dkt. 162). On April 24, 2023, the TCC filed a motion to dismiss LTL’s bankruptcy

case (Dkt. 286) (the “TCC MTD”).

                                           ARGUMENT

       A. The Third Circuit’s Decision Dismissing the 2021 Case Also Compels Dismissal
          of This Case Because LTL Is Not In Financial Distress

       LTL filed its present bankruptcy case less than three months after the Third Circuit found

a lack of good faith and cause for dismissal in its 2021 Case. LTL’s history, general financial

structure, case strategy, and reorganization goals are largely unchanged from its first case. The

legal conclusions of the Third Circuit from the first LTL case are no longer subject to appeal and

are now binding in this case, and LTL is not free to relitigate those matters. As the party that

bears the burden of proving its own good faith, LTL can survive dismissal if, and only if, it can

point to a changed circumstance that would lead to a different outcome under the Third Circuit’s

analysis. It cannot do so.

       In an informational brief that it filed in connection with its second petition, LTL relies on

only a single new fact relevant to the Third Circuit’s good faith analysis: its replacement, through

the T&S Agreement, of the 2021 Funding Agreement with the less beneficial 2023 Funding

Agreement. See Debtor's Statement Regarding Refiling of Chapter 11 Case (Dkt. 3). But LTL’s

reliance on this single fact ignores the Third Circuit’s multi-factor analysis used to determine that

LTL was not in financial distress, and there is no basis to believe that the Third Circuit would

rule differently now. But even if the Court finds that LTL has manufactured genuine financial

distress, the only real effect would be that LTL has substituted one cause for dismissal for

another. In either scenario, its chapter 11 case remains one that was filed in bad faith.




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        1.      The Underlying Facts Relied on by the Third Circuit Have Not Changed.

        LTL’s exclusive reliance on its surrender of its $61.5 billion payment right ignores that

this was just one of several independent grounds supporting the Third Circuit’s conclusion that

LTL was not in financial distress. And while the 2021 Funding Agreement was undoubtedly an

important consideration in the Third Circuit’s decision, see LTL, 64 F.4th at 106, the Third

Circuit’s decision nowhere suggests that the $61.5 billion was the dividing line between good

faith and bad faith, or that it might have ruled differently had the value of the 2021 Funding

Agreement been only $30 billion or $10 billion. Rather, the Third Circuit’s conclusion of no

financial distress was also supported by numerous other factors, including LTL’s inability to

substantiate its worst-case liability projections, see id. at 108, the fact that its capitalization was

sufficient for its limited business operations, see id. at 109, and perhaps most importantly, its

self-professed ability to pay all talc claims in full in the ordinary course. See id.

        There is no evidence that any of these facts have changed since January 30, 2023. Thanks

to the nationwide third-party injunction that has existed for the past eighteen months, the

litigation history of LTL and J&J is exactly what it was in October 2021, and there have been no

fresh verdicts that might give the Third Circuit reason to revisit its conclusions regarding LTL’s

potential liability. As to the crucial factor of LTL’s ability to meet its obligations in the ordinary

course, LTL continues to insist in its filings that the replacement of the 2021 Funding Agreement

has not prejudiced its creditors. See Kim Decl. ¶ 84 (“[t]he Debtor’s new financing arrangements

do not harm talc claimants”). Even after the cancellation of its 2021 Funding Agreement, LTL

falls well short of overcoming the Third Circuit’s financial distress analysis.

        Furthermore, the only other new fact identified by LTL undermines, rather than supports,

its claim of financial distress. In its first day pleadings, LTL asserts that it had entered into plan




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support agreements affecting an alleged 60,000 claimants, under which J&J and LTL would

resolve their collective present and future talc liability for $8.9 billion. See Kim Decl. ¶ 8. But

even taking LTL’s characterization of these settlements at face value, 5 the fact that it believes it

can comprehensively resolve talc claims for this amount (which it admits it can comfortably pay)

undercuts any argument that it faces the kind of astronomical liabilities that would exhaust its

existing resources. Indeed, the Third Circuit anticipated this very criticism when it faulted LTL

for ignoring the “possibility of meaningful settlement” in its projections of financial distress.

LTL, 64 F.4th at 107.

         2.       Any Financial Distress is Offset by LTL’s Claims Against Its Affiliates.

         Even if LTL’s recent corporate transactions did impair LTL’s ability to meet its

obligations (notwithstanding LTL’s sworn assurances to the contrary), the ultimate result would

be no different. In this case, as the Third Circuit carefully cautioned, LTL and its creditors would

have sizeable causes of action, under various legal theories, against J&J, New JJCI/Holdco, and

possibly LTL’s own directors and officers arising from their decision to strip LTL of its most

valuable asset. See id. at 109 n.18. The only real consequence of LTL’s financial machinations

would be to replace a large contract right with a smaller contract right coupled with a large

litigation claim. 6 But the net effect, for purposes of LTL’s financial distress, would be zero.


5
 The U.S. Trustee notes that the validity of LTL’s plan support agreements, as well as the true degree of creditor
support that LTL enjoys, are currently matters of considerable dispute among the parties in this case. See TCC MTD
at 16. The question of creditor support is in any event irrelevant for purposes of the dismissal analysis by the Third
Circuit, which based its decision on LTL’s bad faith and not its hypothetical prospects for reorganization.
6
 Under this scenario, the Court would then be faced with another difficult question: who should evaluate and
prosecute these claims? Certainly not LTL’s existing managers and officers, who were responsible for the decisions
at issue (and who may themselves be litigation defendants along with J&J). In virtually any other case involving the
diversion of debtor assets in this manner, there would be clear cause for appointment of a trustee under 11 U.S.C.
§ 1104. See, e.g., In re Sharon Steel Corp., 86 B.R. 455 (Bankr. W.D. Pa. 1988), subsequently aff'd, 871 F.2d 1217,
(3d Cir. 1989). But the court may also dismiss the case in lieu of appointing a chapter 11 trustee if doing so would
be in the best interests of creditors. See 11 U.S.C. § 1112(b)(1). In this case, given the needless delay that LTL’s
creditors have already been forced to endure in two cases, the U.S. Trustee believes that dismissal rather than
appointment of a trustee is the more appropriate remedy.


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       B. Even If LTL Successfully Manufactured Financial Distress, There Remain
          Independent Grounds For Dismissal.

       As the Third Circuit held, financial distress is a threshold requirement for bankruptcy

relief, and LTL’s failure to prove this requirement is automatic grounds for dismissal. See id. at

101. But even if LTL clears this hurdle, there exist other grounds on which the Court should

conclude that it filed for bankruptcy in bad faith and that its case should be dismissed.

       1.      LTL Acted In Bad Faith When It Terminated the 2021 Funding Agreement.

       Apart from its lack of financial distress, LTL’s bad faith is conclusively established by its

“prepetition” decision to sacrifice its rights under the 2021 Funding Agreement for zero

consideration—and for the sole benefit of its nondebtor, corporate parent—a decision that

removed tens of billions of dollars from the reach of its creditors. This breach of its duties is all

the more egregious because LTL presumably made these decisions, even if did not fully execute

them, when LTL was a chapter 11 debtor and a fiduciary to its creditors. See In re Marvel Ent.

Grp., Inc., 140 F.3d 463, 471 (3d Cir. 1998) (“The debtor-in-possession is a fiduciary of the

creditors and, as a result, has an obligation to refrain from acting in a manner which could

damage the estate, or hinder a successful reorganization”).

       Remarkably, LTL does not offer any business justification or any explanation for how its

decision to terminate the 2021 Funding Agreement was consistent with its duties to creditors.

Rather, LTL’s only defense for its actions is to speculate that under the Third Circuit’s decision,

the 2021 Funding Agreement might have become “void or voidable.” Kim Decl. ¶ 78. But LTL

offers no evidentiary support for this contention. LTL does not assert that J&J or New JJCI ever

refused to honor their obligations under the 2021 Funding Agreement or that they were likely to




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do so in the future. 7 LTL’s theory that the 2021 Funding Agreement became void upon dismissal

is also inconsistent with the actual terms of that agreement, which contained express provisions

for its operation outside as well as inside a bankruptcy case. See Kim 2021 Decl. ¶ 27

(summarizing terms of 2021 Funding Agreement, including J&J’s obligation to provide funding

“at any time when there is no bankruptcy case”). In short, despite LTL’s after-the-fact attempts

to rewrite its terms, there is no reason for the Court to conclude that the cancellation of the 2021

Funding Agreement was anything other than a bad-faith scheme to defeat the rights of LTL’s

creditors.

         2.       LTL’s Bankruptcy Does Not Serve a Valid Bankruptcy Purpose Because It Is
                  Designed to Benefit J&J, Not LTL

         As the Third Circuit explained, the threshold “financial distress” test is merely a part of a

larger inquiry into whether the debtor has a “valid bankruptcy purpose.” LTL, 64 F.4th at 101. In

this case, as with LTL’s 2021 Case, LTL does not meet this test because the entire history of

LTL—from the Divisional Merger to now—conclusively demonstrates that it has no need of

reorganization for itself, and that its chapter 11 cases have been filed for the sole benefit of

nondebtor J&J.

         LTL has been a chapter 11 debtor for all but two days of its existence. Apart from a

single revenue stream assigned to it under the Divisional Merger, it has no business outside of its



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  Nor did they move to lift the stay to file suit to avoid the 2021 Funding Agreement. Moreover, it strains credulity
that the beneficiary of a multi-billion dollar contract would, sua sponte, when a question might have arisen about the
validity of that contract, offer to its counterparty that the beneficiary relinquish billions of dollars of contractual
rights rather than assert its rights or litigate them to avoid speculative uncertainty over a legal doctrine—frustration
of purpose—virtually unknown in modern contract law to ever have voided a contract. See Brenner v. Little Red
Sch. House, Ltd., 302 N.C. 207, 211, 274 S.E.2d 206, 209 (1981) (discussing limitations to doctrine of frustration of
purpose, including that parties “may not invoke the doctrine of frustration to escape their obligations” if the risk was
reasonably foreseeable or if it was addressed in the parties’ contract). Because the 2021 Funding Agreement had
toggle provisions applying whether LTL was in or out of bankruptcy, it is unreasonable to contend, much less
conclude, that the risks of LTL not being in bankruptcy were unforeseeable or that they were not addressed in the
parties’ contract.



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role as a bankruptcy vehicle for J&J's talc liabilities. A central purpose of chapter 11 is to allow a

distressed business to “preserv[e] going concerns” while navigating financial hardship.

Integrated Telecom, 384 F.3d at 119 (quoting Bank of Am. Nat’l Tr. & Sav. Ass’n v. 203 N.

LaSalle St. P’ship, 526 U.S. 434, 453 (1999)). Here, however, this purpose is not served, and

cannot be served, because LTL has no meaningful going concern business to preserve, and any

financial hardship that it has experienced was created for the sole purpose of allowing it access to

bankruptcy. Because LTL has “no going concerns to preserve—no employees, offices, or

business other than the handling of litigation,” In re 15375 Mem'l Corp. v. BEPCO, L.P., 589

F.3d 605, 619 (3d Cir. 2009)—its bankruptcy petition cannot substantially further the

fundamental reorganization purpose of chapter 11.

       Furthermore, LTL’s own statements reflect that the ultimate purpose of the Divisional

Merger, as well as of both bankruptcy cases, has been to benefit J&J, not LTL, by giving J&J all

of the protections of a chapter 11 case without requiring it to become a debtor itself. See Kim

Decl. ¶ 25 ( “Old JJCI implemented the 2021 Corporate Restructuring to facilitate a chapter 11

filing by the Debtor that would permit the Debtor to fully resolve current and future talc-related

claims through a plan of reorganization without subjecting the entire Old JJCI enterprise to a

bankruptcy proceeding”). And LTL has been clear throughout these two cases that its goal is a

plan that will permanently discharge nondebtor J&J’s talc liability. Id. at ¶ 86 (stating that LTL’s

objective is “the issuance of an injunction that will permanently protect the Debtor, its affiliates

and certain other parties from further talc-related claims”). Although this goal might be a

legitimate bankruptcy purpose in a case where J&J was a debtor, it is not a valid purpose in a

case where J&J is not a debtor. See BEPCO, 589 F.3d at 624 (finding bad faith where debtors

were primarily concerned with protecting nondebtor affiliates).




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       3.      LTL’s Case Should Be Dismissed Because It Was Filed as a Litigation Tactic.

       As the second prong of the Third Circuit’s good faith analysis, the Court must consider

whether the case “is filed merely to obtain a tactical litigation advantage.” LTL, 64 F.4th at 101.

Considering the conduct of J&J and LTL in its entirety, this factor also requires dismissal.

Through the Divisional Merger, J&J essentially divided its creditors into two classes—those who

would be assigned to New JJCI ,who could continue to be paid in the ordinary course, and those

assigned to LTL, who have been forced to deal with the delay and uncertainty of the bankruptcy

process. This not only undermines the Code’s priority scheme, “which ordinarily determines the

order in which the bankruptcy court will distribute assets of the estate,” Czyzewski v. Jevic

Holding Corp., 137 S. Ct. 973, 979 (2017), but it also provides additional evidence that LTL’s

petition was “filed merely for tactical advantage” in ongoing litigation. SGL Carbon, 200 F.3d at

165. In SGL Carbon, for example, the debtor filed for bankruptcy after it was named as a

defendant in a large antitrust suit, apparently because it believed that bankruptcy would provide a

preferable venue for resolving the antitrust claims. In evaluating a motion to dismiss the petition,

this Court examined the proposed reorganization plan, which provided for all creditors to “be

paid in full in cash” except antitrust judgment creditors—who would be “required to accept

limited-time credits to purchase SGL Carbon’s products.” Id. at 167. This Court explained that

the “plan’s differing treatment of creditors suggests SGL Carbon’s petition was not filed to

reorganize the company but rather to put pressure on antitrust plaintiffs to accept the company’s

settlement terms.” Id. The same conclusion applies with equal force here.




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        4.      LTL’s Failure to Obtain Authorization for Its Prepetition Transactions Is
                Further Cause for Dismissal

        Lastly, in considering the totality of LTL’s bad faith, the Court should also consider

LTL’s willful disregard of its duties to this Court and its creditors in its 2021 Case, particularly

given its failure to disclose or obtain authorization for the non-ordinary course transactions that

allowed it to file its second case.

        When LTL sought bankruptcy protection in its 2021 Case, it subjected itself and its

affairs to the oversight of this Court, its creditors, and the U.S. Trustee, and it assumed a

fiduciary duty to its creditors. See Marvel Ent. Grp., Inc., 140 F.3d at 471. A key mechanism for

the supervision of debtors in chapter 11 is section 363(b) of the Bankruptcy Code, which requires

disclosure to creditors and approval by the court of any proposed transactions that are outside the

ordinary course of business. 11 U.S.C. § 363(b)(1). See In re Roth Am., Inc., 975 F.2d 949, 952

(3d Cir. 1992) (noting that section 363 “protect[s] creditors by giving them an opportunity to be

heard when transactions are not ordinary”). A similar purpose is found in Bankruptcy Rule 9019,

which requires notice to creditors and court approval before the debtor in possession may enter

into settlements. Fed. R. Bankr. P. 9019(a).

        Here, the record reflects that in the weeks leading up to its second bankruptcy, LTL

engaged in a series of transactions and other actions that cannot plausibly be characterized as

ordinary course. These include its entry into the T&S Agreement, under which it gave away its

most valuable asset, its corporate action to authorize its second bankruptcy filing, and its

execution of plan support agreements with an alleged 60,000 claimants. See Kim Decl. ¶ 8.

Given the very brief time that elapsed between the dismissal of the 2021 Case and the filing of

this case, it is almost certain that these activities were either fully or substantially consummated




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during the first case. But LTL never sought Court authorization for these transactions and never

provided notice to its creditors or the U.S. Trustee of its intent to engage in those transactions.

        LTL’s failure to comply with section 363 was not harmless. Even after the Third

Circuit’s decision, LTL’s case remained open until April 4, and so long as LTL was pursuing its

appeals, there was a possibility that the dismissal would be overturned. Had LTL provided

proper notice of the T&S Agreement and sought Court approval, its creditors would have had an

opportunity to object to its wholesale surrender of the 2021 Funding Agreement, and the Court

would have had an opportunity to evaluate the business rationale, if any, behind it. Because LTL

did not provide notice, creditors who have been prejudiced by that transaction now face the

considerably more burdensome task of unwinding a completed transaction in LTL’s new

bankruptcy case.

        Given the totality of LTL’s other conduct, the Court may conclude that these omissions

were deliberate. As late as March 22, the date on which it moved for a stay, LTL publicly

represented that it intended to file a petition for a writ of certiorari (which it never did); it did not

disclose that it was, at the very same time, already preparing for a serial bankruptcy petition. As

such, LTL’s conduct in late March 2023 appears to reflect a tactical decision to conceal its

actions and intentions from the creditors and Court to whom it owed duties as a debtor in

possession. This strategic disregard of the Bankruptcy Code is yet another ground for dismissal.

See SGL Carbon, 200 F.3d at 161 (noting that “[a] debtor who attempts to garner shelter under

the Bankruptcy Code, therefore, must act in conformity with the Code's underlying principles”).




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       WHEREFORE, for the foregoing reasons, the U.S. Trustee respectfully requests that the

Court dismiss the above-captioned chapter 11 case and grant such other and further relief that is

deemed just and equitable.

                                            Respectfully submitted,

                                            ANDREW R. VARA
                                            UNITED STATES TRUSTEE
                                            REGIONS 3 & 9


Dated: May 1, 2023                          By: /s/ Jeffrey M. Sponder
                                            Jeffrey M. Sponder
                                            Trial Attorney
                                            Lauren Bielskie
                                            Trial Attorney
                                            United States Department of Justice
                                            Office of the United States Trustee
                                            One Newark Center, Suite 2100
                                            Newark, NJ 07102

                                            -and-

                                            Linda Richenderfer
                                            Trial Attorney
                                            United States Department of Justice
                                            Office of the United States Trustee
                                            J. Caleb Boggs Federal Building
                                            844 King Street, Suite 2207, Lockbox 35
                                            Wilmington, DE 19801
                                            (302) 573-6491 (Phone)
                                            linda.richenderfer@usdoj.gov




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